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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

 Case No.    CV 15-1116-DMG (JPRx)                                    Date     November 5, 2015

 Title Kakedan, Inc. v. Clay’s Classics, et al.                                      Page     1 of 1

 Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                               NOT REPORTED
              Deputy Clerk                                             Court Reporter

    Attorneys Present for Plaintiff(s)                       Attorneys Present for Defendant(s)
             None Present                                              None Present

 Proceedings: [IN CHAMBERS] ORDER TO SHOW CAUSE WHY ENTIRE ACTION,
              INCLUDING COUNTER-CLAIM, SHOULD NOT BE STAYED
              PURSUANT TO AUTOMATIC BANKRUPTCY STAY

        On September 17, 2015, Defendants Clay’s Classics and Ronald Hatfield (collectively,
 “Defendants”) filed a Notice of Bankruptcy indicating that on September 17, 2015, Ronald B.
 Hatfield, dba Clay’s Classics, filed a petition with the United States Bankruptcy Court under
 Chapter 7 of the United States Bankruptcy Code. [Doc. # 31.] On September 29, 2015,
 Defendants filed a Notice of Automatic Stay advising that the instant action is automatically
 stayed pursuant to 11 U.S.C. § 362(a). [Doc. # 32.]

         Accordingly, IT IS ORDERED that the parties shall show cause in writing by November
 13, 2015, why this entire action, including the counter-claim, should not be stayed pending the
 above-mentioned bankruptcy action pursuant to 11 U.S.C. § 362(a). Counsel are advised that
 failure to file a timely response to this Order shall be deemed consent to the stay of this entire
 action, including the counter-claim.




 CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
